54 F.3d 599
    GREGORIO T., By and Through His Guardian Ad Litem JOSE T.,et al., Plaintiffs-Appellees,andCalifornia Association of Catholic Hospitals, et al.,Plaintiffs-Intervenors,v.Pete WILSON, Governor of the State of California, et al.,Defendants-Appellants.LEAGUE OF UNITED LATIN AMERICAN CITIZENS, Plaintiff-Appellee,v.Pete WILSON, Governor of the State of California, et al.,Defendants-Appellants,Orange Unified School District, et al., Defendants.Barbara AYALA, a minor, by and through Her Guardian AdLitem, Andrea Ayala, Plaintiff-Appellee,v.Pete WILSON, Governor of the State of California, et al.,Defendants-Appellants,Alhambra Unified School District, Defendant.CHILDREN WHO WANT AN EDUCATION, who are undocumented inAmerica, who will be adversely affected byCalifornia Proposition 187, Plaintiff-Appellee,v.Pete WILSON, Governor of the State of California, et al.,Defendants- Appellants,andLos Angeles Unified School District, Defendant.
    Nos. 95-55186, 95-55188, 95-55191 and 95-55192.
    United States Court of Appeals,Ninth Circuit.
    Submitted to Motions Panel May 4, 1995*.Decided May 4, 1995.
    
      Appeal from the United States District Court for the Central District of California.
      Before:  WALLACE, Chief Judge, HUG and NOONAN, Circuit Judges.
    
    ORDER
    
      1
      These appeals challenge the district court's preliminary injunction against implementation and enforcement of sections 4, 5, 6, 7 and 9 of Proposition 187, a California voter initiative enacted at the November 8, 1994 general election.  Appellants have moved to consolidate and expedite the appeals, and appellee League of United Latin American Citizens has moved to stay them.  For the reasons stated below, we grant appellants' motions and deny appellee's.
    
    
      2
      28 U.S.C. Sec. 1657 and Ninth Circuit Rule 34-3 give priority to preliminary injunction appeals.  In addition, recently adopted Ninth Circuit Rule 3-3 (effective July 1, 1995) automatically expedites briefing and decision in preliminary injunction appeals.  Appellants have requested that Rule 3-3 govern this appeal.  The request is granted.
    
    
      3
      In reviewing a preliminary injunction, we will consider only whether the district court relied on an erroneous legal premise or abused its discretion.  See Sports Form, Inc. v. United Press International, 686 F.2d 750, 752-53 (9th Cir.1982).  Extensive briefing of the merits of the underlying case is therefore unwarranted.  Accordingly, the parties shall brief the issues in light of the standards articulated in Sports Form.
    
    
      4
      These appeals are consolidated and expedited as follows.  Appellants shall file one consolidated opening brief by May 18, 1995.  All appellees shall file one consolidated answering brief by June 8, 1995.  Appellants may file an optional reply brief by June 15, 1995.  The length of briefs shall be governed by Ninth Circuit Rule 28-3.  Service and filing of briefs shall be by hand delivery or overnight mail.  No extensions of time, oversized briefs or amicus curiae briefs will be permitted.
    
    
      5
      This panel will retain jurisdiction over the merits of these appeals.
    
    
      
        *
         The panel finds this case appropriate for submission without argument pursuant to 9th Cir.R. 34-4 and Fed.R.App.P. 34(a)
      
    
    